Case 2:05-cv-04182-SRD-JCW Document 19020-12 Filed 06/19/09 Page 1 of 5




           APPENDIX M
  Case 2:05-cv-04182-SRD-JCW Document 19020-12 Filed 06/19/09 Page 2 of 5




       354. The ocean swells would have periods of up to 16 seconds between crests, while the

wind-generated waves would have expected periods between 3 and 7 seconds. Exh. 103, Vrijling

Wave Modeling Report (July 2008) at p. 6.

       355. The ocean swells would be somewhat reduced in height (and possibly totally

assimilated) by the wind-generated waves as they crossed the wetlands between the coast and

Lake Borgne, while the wind wave heights would be related to the fetch (distance over which the

wind blows) and wind direction. Exh. 103, Vrijling Wave Modeling Report (July 2008) at p. 6.

       356. Both wave types would have a limiting maximum height based on the depth of

water that the waves are traversing (frictional drag of the bottom). Exh. 103, Vrijling Wave

Modeling Report (July 2008) at p. 6.

       357. At 8:00 am CDT on August 29th, during the peak of Hurricane Katrina, the wave

heights in the MR-GO channel varied from 8.7 to 9.6 ft. Exh. 108, Vrijling Wave Modeling

Supplement (Nov. 2008) at p. 3.

                  RELATIONSHIP BETWEEN MR-GO AND CHANGES
                         IN TOPOGRAPHY AND HABITAT

       358. As demonstrated in the earlier discussions of “The Army Corps’ Knowledge of the

MR-GO’s Defects and Risk of Catastrophic Flooding” and “The Army Corps’ Awareness of

Feasible Mitigation Measures,” and as discussed further below, the evidence shows that the MR-

GO’s defective conditions (a) caused significant changes in the topography and habitat in the

MR-GO’s vicinity and (b) compromised the ability and effectiveness of the LPV structures to

protect the people and property of New Orleans and St. Bernard Parish from hurricane flooding.

Rapid Storm Surge Delivery

       359. The MR-GO was a conduit for rapid hurricane surge delivery via Reach 2 from the

Gulf of Mexico to the heart of Greater New Orleans. Exh. 4, Team Louisiana Report at pp. 223-



                                              104
  Case 2:05-cv-04182-SRD-JCW Document 19020-12 Filed 06/19/09 Page 3 of 5




24, Fig. 158; 235-40; Exh. 26, Decision Making Chronology at pp. ES-6-7; Exh. 2, ILIT Report

at p. 8-6; Exh. 7, Kemp 702c Expert Report at pp. 25-33.

        360. The MR-GO was also a conduit for rapid hurricane storm surge delivery—via

Reach 1/GIWW—from Lake Borgne to New Orleans East and the Lower 9th Ward. Exh. 20,

IPET Report at p. IV-258.

        361. As depicted below in Figure 9, the route selection of the MR-GO created an

artificial funnel shape and served as a direct deep water conduit to the open ocean. The direct

connection and funnel geometry—without construction of a feasible storm surge barrier initially

or at anytime over a half century—caused increased storm surge. The deep water channel served

as a conduit which carried the unimpeded storm surge water into the St. Bernard Parish, New

Orleans East, and the IHNC area more rapidly than the natural vegetation would have allowed.

Exh. 83, Bea Expert Report (Technical Report I) (“The Legacies of the MR-GO”) (Jan. 2009) at

p. 9.




                                               105
  Case 2:05-cv-04182-SRD-JCW Document 19020-12 Filed 06/19/09 Page 4 of 5




Exh. 83, Bea Tech. Report No. I (Jan. 2009) at p. 9, Fig. 9.

       362. The Army Corps-commissioned IPET investigation of the causes of the

catastrophic flooding during Hurricane Katrina acknowledged the funneling of water in the

IHNC from Reach 1/GIWW during hurricanes. Exh, 20, IPET Report at p. IV-258.

       363. All the investigations of Katrina flooding concluded that there was a demonstrable

“funnel effect” of surge waters along Reach 1/GIWW and IHNC during Katrina. Exh. 20, IPET

at p. IV-135; Exh. 3, ILIT Report at p. 3; Exh. 4, Team Louisiana Report at Chp. 2; Chp. 3 at pp.

59-60; Exh. 153, CRS Report for Congress, Mississippi River Gulf Outlet (MR-GO): Issues for

Congress, Nicole T. Carter, Charles V. Stern, Aug. 4, 2006 (Exh. 49) at p. 7.




                                               106
  Case 2:05-cv-04182-SRD-JCW Document 19020-12 Filed 06/19/09 Page 5 of 5




       364. The funneling of water down Reach1/GIWW without a surge barrier significantly

enhanced surge levels in that channel and the IHNC by 3 to 3.5 feet during Katrina. Exh. 91,

Kemp Expert Report (July 2008) at p. 125; Exh. 94, Kemp Supp. Decl. (Jan. 2009) at p. 4 citing

Westerink Report (Defendant’s Expert) at Figures 187-196.

Loss of Trees and Wetlands

       365. Over five decades, the pre-MR-GO habitat was dramatically changed by the MR-

GO’s construction, operation, and maintenance in the study area (Central Wetlands, Golden

Triangle, and adjoining areas). The MR-GO directly and indirectly destroyed tens of thousands

of acres of wetlands and cypress forests. PUF Nos. 40-49; Exh. 145, Army Corps, Habitat

Impact of the Construction of the MR-GO, at Table 1, p. 1559 (NED-188-000001511 et seq.);

Exh. 196, Army Corps and Louisiana Department of Natural Resources, “Land Loss and Marsh

Creation, St. Bernard, Plaquemines and Jefferson Parishes—Feasibility Study” (April 1990) at

pp. 18-19; Exh. 95, Day/Shaffer Expert Report (July 2008) at pp. 38-50; Exh. 96 Fitzgerald

Expert Report (July 2008) at pp. 4-1 to 4-9.

       366. The MR-GO destroyed tens of thousands of thriving wetland acres and baldcypress

– water tupelo swamps that had protected Greater New Orleans from hurricane surge and waves.

Exh. 15 at pp. 16-20, 46, Expert Report of John W. Day, Jr. and Gary P. Shaffer (July 11, 2008).

       367. The Army Corps itself estimated that nearly 3,400 acres of fresh/intermediate

marsh, over 10,300 acres of brackish marsh and over 4,200 acres of saline marsh have been

converted to open water or spoil in the study area due to the MR-GO’s construction. In addition,

over 1,500 acres of cypress swamp and levee forest have become disposal area. A total of nearly

20,000 acres of wetlands have been lost and nearly 4,800 acres of shallow open water have been

converted into deep water or disposal area. Habitat shifts caused by saline waters brought in by




                                               107
